                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

   JILL NATION,

                                  Plaintiff,

           v.                                         Case No.: 3:22 cv 5063 - MDH

   THOMAS E. MOORE, DDS, and
   ROCK DENTAL MISSOURI, LLC,

                                  Defendants.


                                               ORDER

       Before the Court are Plaintiff Jill Nation’s (“Plaintiff”) Motion in Limine (Doc. 143),

Defendant Thomas E. Moore, DDS, and Thomas E. Moore, DDS P.C.’s (Collectively, “Defendant

Moore”) Motion in Limine (Doc. 150), Defendant Rock Dental Missouri, LLC’s Motion in Limine

(Doc. 139), Plaintiff’s Motion to Strike Undisclosed Witnesses from Defendants’ Witness Lists

(Doc. 153), and Defendants Joint Motion for Order Excluding and Prohibiting the Use of Untimely

Produced Documents (Doc. 170).

                              PLAINTIFF’S MOTIONS IN LIMINE

       With respect to Plaintiff’s Motion in Limine, (Doc. 143) this Court GRANTS this motion

in PART and DENIES this motion in part. As to point one regarding any mention or evidence that

Dr. Nicholas Panomitrios is a lawyer is DENIED; however, he may not testify to any legal

opinions. As to point two regarding speculative argument and evidence regarding possible causes

of Plaintiff’s temporomandibular joint disorder (TMD) is DENIED; however, no alternative cause

will be submitted to the jury in instructions about expert testimony that such was actually the cause.

As to point three regarding evidence or argument of the fault of any nonparty in causing or




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worsening Plaintiff’s damages is DENIED. Defendant may argue the conduct of others was not

the sole cause of Plaintiff’s injury, but no sole cause instruction will be given. As to point four

regarding any comparative fault argument as to Plaintiff is GRANTED. As to point five regarding

any evidence or argument regarding Dr. Jobst’s prior malpractice cases, surrendered license, or

car crash is GRANTED. As to point six regarding that Plaintiff’s expert witnesses are “just general

dentists” is DENIED; however, the scope of the educational training and experience of the experts

may be presented to the jury. As to point seven regarding undisclosed expert testimony, opinions,

or evidence regarding a prognosis for plaintiff is GRANTED with the exception that Dr. Miller

may testify that if Plaintiff had stayed the course with the original treatment plan Plaintiff would

not need corrective surgery. As to point eight regarding any evidence or reference to the Dental

Service Organization (DSO) Agreement between Rock Dental Brands and Rock Dental of

Missouri, LLC is DENIED. Objections concerning relevance to and use of the agreement at trial

will be resolved during trial. The parties should use caution in referring to the agreement in

opening. As to point nine regarding speculative evidence or argument that Defendant Moore’s plan

was “approved” by a general dentist is GRANTED and applies to both parties. Finally, as to point

ten regarding inflammatory or improper arguments regarding impact of award or verdict it is

GRANTED as to (a), (b), and (c).

                       DEFENDANT MOORE’S MOTIONS IN LIMINE

       With respect to Defendant Moore’s Motion in Limine, (Doc. 150) this Court GRANTS

this motion with exceptions. As to point one regarding evidence, inference, or arguments related

to alleged failure to produce documents or other discovery issues as irrelevant and prejudicial if

submitted to a jury is GRANTED with exception that Plaintiff can state when they requested

medical records, and when they received them. As to point two regarding using video deposition




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testimony offers no legitimate probative purpose and prejudices the jury in opening statements is

GRANTED with exception to any exhibits the parties jointly stipulate are admissible may be used.

As to point three regarding Plaintiff’s complaint to the Missouri Dental Board about Dr. Moore,

its investigation of that complaint, and any other evidence, testimony, or reference to said Board

should be excluded is GRANTED. As to point four regarding reference to insurance coverage,

insurance companies, insurance representatives, and any indirect references to the insurance

business such as “claims adjusting” or “claims investigations”, should be excluded is GRANTED

with the exception that Plaintiff and Tracie Nation may talk about their employment background.

As to point five regarding settlement offers, demands, negotiations, and any other efforts by any

party to resolve this case as well as any party’s refusal to do so should be excluded from evidence

is GRANTED. As to point six regarding evidence and references to the parties’ assets, income,

investments, wealth, financial condition, or social status should be prohibited is GRANTED. As

to point seven regarding golden rule arguments should be prohibited is GRANTED and applies to

both parties. As to point eight regarding Plaintiff, her counsel, and witnesses should be prohibited

from using the phrase “human experimentation” is GRANTED. As to point nine regarding

Plaintiff should be prohibited from offering cumulative expert testimony is GRANTED with

exception that the parties may choose which two experts may opine on any subject. As to point ten

regarding evidence of other lawsuits unrelated to this action should be prohibited is GRANTED.

As to point eleven regarding evidence of complaints about Dr. Moore by other patients who

transferred their care to a different orthodontist and were given refunds is GRANTED. As to point

twelve regarding any undisclosed experts and expert opinions should be excluded is GRANTED.

As to point thirteen regarding any lay witnesses should be prohibited from offering expert opinion

testimony is GRANTED. Finally, as to point fourteen regarding witnesses should be excluded




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from the courtroom until called to testified is GRANTED with exception to the parties in the case.

         DEFENDANT ROCK DENTAL MISSOURI, LLC’S MOTIONS IN LIMINE

       With respect to Defendant Rock Dental Missouri, LLC’s Motion in Limine, (Doc. 139)

this Court GRANTS this motion in PART and DENIES this motion in part. As to part one

regarding hearsay statements concerning what health care providers, aside from Dr. Moore, said

to Plaintiff or her family members regarding the care and treatment at issue is GRANTED. As to

part two regarding criticism provided by Plaintiff’s experts that do not equate to a breach of the

standard of care is DENIED. As to part three of evidence regarding breaches of the standard of

care that did not cause or contribute to cause Plaintiff’s alleged damages is DENIED. As to part

four regarding expert opinions not disclosed in deposition or new factual bases for opinions

previously disclosed in deposition is GRANTED. As to part five regarding any reference to the

financial or social status of either of the parties is GRANTED with the exception should punitive

damages be allowed this will be examined during the bifurcated portion of the trial. As to part six

regarding other lawsuits or claims involving Defendant and/or Codefendant Moore is GRANTED.

As to part seven regarding any statement or reference by any party or witness regarding

professional liability insurance is GRANTED. As to part eight regarding settlement negotiations

or discussions is GRANTED. As to part nine regarding publishing medical literature to the jury

is DENIED; however, a proper foundation must be established, and the literature must have been

identified during discovery. As to part ten regarding any evidence of Defendant Rock Dental

Missouri, LLC’s due diligence into Codefendant Moore’s prior solo practice is GRANTED.

Finally, as to part eleven regarding any evidence of Defendant Rock Dental Missouri, LLC owing

any type of duty to Plaintiff following her removal of treatment consent on December 13, 2021 is

DENIED.




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PLAINTIFF’S MOTION TO STRIKE UNDISCLOSED WITNESSES FROM DEFENDANTS’

                                         WITNESS LISTS

       With respect to Plaintiff’s Motion to Strike (Doc. 153), this Court GRANTS the motion.

  DEFENDANTS JOINT MOTION FOR ORDER EXCLUDING AND PROHIBITING THE

                       USE OF UNTIMELY PRODUCED DOCUMENTS

       With respect to Defendants joint Motion for Order (Doc. 170), this Court GRANTS the

motion with several exceptions. Regarding the progress notes for treatment rendered on and after

August 2023 Plaintiff’s experts will be allowed to state the condition of plaintiff from the progress

notes but Plaintiff’s experts can’t make any statements that aren’t consistent with their opinions

based on their records and cannot use their records or additional support in the records. All recent

records shall be immediately provided to Defendants by Plaintiff. Regarding photographs, intraoral

photographs, x-rays, and CT scans of Plaintiff if they were the same photographs, x-rays, CT scans

sent during the discovery period they will be allowed. However, if they aren’t the same images

they will be prohibited.

       In addition to the Court’s rulings on the above, the Court reminds the parties that these

rulings do not preclude the parties from objecting at trial or otherwise presenting a matter to the

Court, as long as it is done in accordance with proper procedure.

IT IS SO ORDERED.
DATED: August 12, 2024
                                              /s/ Douglass Harpool
                                              DOUGLAS HARPOOL
                                              UNITED STATES DISTRICT JUDGE




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